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                               UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS



                Stone et al.
                                                  §
                Plaintiff                         §
                                                  §
                                                  §
                   v.                             §    Case No.             4:22-cv-00825
                                                  §
              Mayorkas et al.                     §
                                                  §
               Defendant                          §


                            ORDER FOR ADMISSION PRO HAC VICE

       The Court has considered the Application for Admission Pro Hac Vice of

Adam S. Hochschild                                                                        .

It is ORDERED that:


              the application is granted. The Clerk of Court shall deposit the admission fee to the
              account of the Non-Appropriated Fund of this Court. It is further ORDERED that, if the
              Applicant has not already done so, the Applicant must register as an ECF User within 14
              days. See LR 5.1(f) and LCrR 49.2(g).


              the application is denied. The Clerk of Court shall return the admission fee to the
              Applicant.




DATE                                           PRESIDING JUDGE
